           Case 2:19-cv-05030-JDW Document 74 Filed 11/13/20 Page 1 of 3



                          UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

  LISA BARBOUNIS,
                                                       Case No. 2:19-cv-05030-JDW
                 Plaintiff,

                         v.

   THE MIDDLE EAST FORUM, et al.,

                 Defendants.

                                                ORDER

        AND NOW, this 13th day of November, 2020, upon consideration of Defendant The Middle

East Forum’s Motion for Contempt (ECF No. 72), and for the reasons set forth on the record during

today’s hearing with Counsel for the Parties, it is ORDERED that the Motion is GRANTED.

        It is FURTHER ORDERED that, no later than November 16, 2020, Defendants shall

provide to Plaintiff a list of all text messages in which a search term appears. Plaintiff shall arrange

with the e-discovery vendor Cornerstone Discovery for the production of the complete text

conversation for any text in which a search term appears, including all metadata necessary to identify

related parts of a text conversation. The production shall be complete no later than November 18,

2020. In the event that Plaintiff asserts that any part of a text string is privileged, she may redact that

portion of the text string, and she shall produce a privilege log within 48 hours of the document’s

production.

        It is FURTHER ORDERED that Plaintiff shall arrange with Cornerstone for the production

of all attachments to any document that has already been produced, along with metadata to permit

Defendants to identify the parent-child relationship between a document and its attachment(s). In

the event that Cornerstone reproduces documents with attachments, Plaintiff shall arrange with

Cornerstone to provide information, through the use of metadata such as an MD5 hash field or
             Case 2:19-cv-05030-JDW Document 74 Filed 11/13/20 Page 2 of 3



otherwise, to permit Defendants to identify documents that have already been produced in the case

and are being re-produced with attachments. The production shall be complete no later than

November 18, 2020. In the event that Plaintiff asserts that any attachment is privileged, she may

withhold or redact that attachment, and she shall produce a privilege log within 48 hours of the

production of the document to which it is related.

        It is FURTHER ORDERED that counsel for the parties shall confer among themselves and

with Cornerstone and, no later than the close of business on November 16, 2020, file on the docket

a Status Report as to the following issues:

        1.      The schedule for producing text messages pursuant to the requirement above;

        2.      The schedule for producing attachments pursuant to the requirement above;

        3.      The total number of multimedia files on the Cornerstone database, broken down by

file-type (i.e., the number of audio files, the number of video files, and the number of static images)

and categorized by file extension, as well as the number of multimedia files that Plaintiff’s counsel

has produced, the number of such files that Plaintiff’s counsel has reviewed but not produced, and

the number of files that Plaintiff’s counsel has not yet reviewed;

        4.      Cornerstone’s efforts to access and obtain data from Plaintiff Lisa Barbounis’

Telegram account, any impediments to accessing and obtaining that data, and any proposed solutions

to obtain it; and

        5.      What redactions were made to documents that Plaintiff produced on November 4,

2020, the basis for those redactions, and any proposed resolution concerning the redactions.

        It is FURTHER ORDERED that starting today, and every day thereafter, Plaintiff’s

Counsel      shall   submit   a    daily      status       report   to   the   Court   via   email   to

Chambers_of_Judge_Wolson@paed.uscourts.gov that sets forth the following information: 1) how



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          Case 2:19-cv-05030-JDW Document 74 Filed 11/13/20 Page 3 of 3



many documents he reviewed that day; 2) how many documents were produced that day; and 3) how

much time he spent reviewing and/or producing documents that day.

       It is FURTHER ORDERED that the Court determines that an award of attorneys’ fees for

MEF’s costs of preparing this Motion and participating in today’s hearing is appropriate pursuant to

Fed. R. Civ. P. 37. MEF may file a Petition for Attorneys’ Fees on or before November 20, 2020;

Plaintiff’s response is due on or before December 11, 2020.

                                                     BY THE COURT:


                                                     /s/ Joshua D. Wolson
                                                     JOSHUA D. WOLSON, J.




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